              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT




                              KORI UGALDE,

                                 Appellant,

                                      v.

                           STATE OF FLORIDA,

                                  Appellee.


                             No. 2D2023-0188



                              August 21, 2024

Appeal from the Circuit Court for Pinellas County; Michael F. Andrews,
Judge.

Howard L. Dimmig, II, Public Defender, and Steven G. Mason, Special
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Katherine Coombs
Cline, Assistant Attorney General, Tampa, for Appellee.


PER CURIAM.

      Affirmed.

SILBERMAN, LaROSE, and BLACK, JJ., Concur.


Opinion subject to revision prior to official publication.
